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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 1:21-cv-21541-GAYLES/Torres


  PRECIS GROUP, LLC,

                Plaintiff,
  v.

  TRACFONE WIRELESS, INC.

                Defendants.


                                      NOTICE OF FILING

         COMES NOW Plaintiff, PRECIS GROUP, LLC, by and through its undersigned attorneys,

  and hereby gives notice of filing Exhibits 1 through 4 in support of Plaintiff’s Opposition to

  Defendant’s Motion to Dismiss Pursuant to Fed.R.Civ.P. 12(B)(6) (D.E. 91).

         Respectfully submitted July 30, 2021.

                                                 /s/ Brian R. Gilchrist
                                                 Brian R. Gilchrist, Esq., FL Bar #774065
                                                 Email: bgilchrist@allendyer.com
                                                 ALLEN, DYER, DOPPELT + GILCHRIST, PA
                                                 255 South Orange Avenue, Suite 1401
                                                 Orlando, Florida 32801
                                                 Telephone:      (407) 841-2330
                                                 Facsimile:      (407) 841-2343

                                                 Robert H. Thornburg, FL Bar #630829
                                                 Email: rthornburg@allendyer.com
                                                 ALLEN, DYER, DOPPELT + GILCHRIST, PA
                                                 1221 Brickell Ave., Suite 2400
                                                 Miami, Florida 33131
                                                 Telephone:    (305) 374-8303
                                                 Facsimile:    (305) 374-8306




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                                                   Neal G. Massand, Texas Bar No. 24039038
                                                   Admitted Pro Hac Vice
                                                   Email: nmassand@nilawfirm.com
                                                   Stevenson Moore V, Texas Bar No. 24076573
                                                   Admitted Pro Hac Vice
                                                   Email: smoore@nilawfirm.com
                                                   NI, WANG & MASSAND, PLLC
                                                   8140 Walnut Hill Ln., Ste. 500
                                                   Dallas, TX 75231
                                                   Tel: (972) 331-4600
                                                   Fax: (972) 314-0900

                                                   ATTORNEYS FOR PLAINTIFF
                                                   Precis Group LLC



                                  CERTIFICATE OF SERVICE

          I hereby certify that on July 30, 2021, I electronically filed the foregoing using the Case
  Management/Electronic Case Filing ("CM/ECF") system which will send a Notice of Electronic
  Filing to the CM/ECF participants identified on the following Service List:


                                                   /s/Brian R. Gilchrist
                                                   Brian R. Gilchrist, FL Bar #774065

                                          SERVICE LIST

  Aaron Stenzler Weiss, Esq.                       Ethan Horwitz, Esq.
  Email: aweiss@carltonfields.com                  Email: ehorwitz@carltonfields.com
  CARLTON FIELDS, PA                               Admitted Pro Hac Vice
  100 S.E. 2nd Street, Ste. 4200                   CARLTON FIELDS, PA
  Miami, FL 33131-9101                             405 Lexington Avenue, 29th Floor
  Telephone: 305-530-0050                          New York, NY 10174-0002
                                                   Telephone: 212-785-2577
  Neal Massand, Esq.
  Email: nmassand@nilawfirm.com
  Stevenson Moore, V, Esq.
  Email: smoore@nilawfirm.com
  NI, WANG & MASSAND, PLLC
  814o Walnut Hill Lane, Suite 500
  Dallas, TX 75231
  Telephone: 972-331-4600




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